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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                     10/17/2020

    Allianz Global Investors GmbH et al.,
                                                                 1:18-cv-10364 (LGS) (SDA)
                                  Plaintiffs,
                                                                 ORDER
                      -against-

    Bank of America Corporation et al.,

                                  Defendants.


STEWART D. AARON, UNITED STATES MAGISTRATE JUDGE:

          The Court has reviewed the parties’ submissions and, applying proportionality principles,

in its discretion, ORDERS as follows:

          1. JPMorgan’s Letter Motion (ECF No. 558) for a protective order is GRANTED IN PART

             and DENIED IN PART. JPMorgan shall collect materials from a total of 40 custodians.

             Plaintiffs shall select these custodians from among the 27 that JPMorgan itself offered

             and the individuals identified by Plaintiffs in ECF No. 576.

          2. UBS’s Letter Motion (ECF No. 559 & 575) for a protective order is GRANTED IN PART

             and DENIED IN PART. UBS shall collect materials from a total of 40 custodians.

             Plaintiffs shall select these custodians from among the 26 1 that UBS itself offered and

             the individuals identified by Plaintiffs in ECF No. 592.

          3. Bank of America’s Letter Motion (ECF No. 560) for a protective order is GRANTED IN

             PART and DENIED IN PART. Bank of America shall collect materials from a total of 30




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 UBS’s Letter Motion sought to limit the number to 25, but UBS increased that number by one in its Reply
(ECF No. 608).
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              custodians. Plaintiffs shall select these custodians from among the 25 that Bank of

              America itself offered and the individuals identified by Plaintiffs in ECF No. 584.

          4. Deutsche Bank’s Letter Motion (ECF No. 561) for a protective order is GRANTED IN

              PART and DENIED IN PART. Deutsche Bank shall collect materials from a total of 30

              custodians. Plaintiffs shall select these custodians from among the 22 that Deutsche

              Bank itself offered and the individuals identified by Plaintiffs in ECF No. 587.

          5. Plaintiffs’ Letter Motion (ECF Nos. 562 & 564) to compel with respect to Barclays is

              GRANTED IN PART and DENIED IN PART. Barclays shall collect materials from a total

              of 43 custodians. Plaintiffs shall select these custodians from among the 40 2 that

              Barclays itself offered and the individuals identified by Plaintiffs in ECF No. 562.

          The Court finds that a proper showing has been made for the motions to seal relating to

each of the foregoing Letter Motions (ECF Nos. 563, 574, 577, 583, 586, 589, 590, 605 & 606) and

those motions are hereby GRANTED. The motions to seal filed at ECF No. 572 and 579 addressed

a now-withdrawn Letter Motion related to RBS, and those motions also are granted.

SO ORDERED.

Dated:            New York, New York
                  October 17, 2020

                                                          ______________________________
                                                          STEWART D. AARON
                                                          United States Magistrate Judge




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    Seven of the 40 offered were “wild cards.” (See ECF No. 594.)


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